                                               Case 5:11-cv-02509-LHK Document 434 Filed 05/20/13 Page 1 of 2
                                                                                                                                                                                                                    Clear Form

  UNITED STATES DISTRICT COURT                                                                           TRANSCRIPT ORDER                                                                          COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                                Please use one form per court reporter.                                                               DUE DATE:
                  CAND 435                                                                        CJA counsel please use Form CJA24
              (CAND Rev. 03/2013)                                                               Please read instructions on next page.
1. NAME                                                                                                 2. PHONE NUMBER                    3. EMAIL ADDRESS                                             4. TODAY’S DATE
Christina J. Brown                                                                                      (415) 984-8979                     cjbrown@omm.com                                              05/20/2013
4. MAILING ADDRESS:                                                                                     5. CASE NAME                                                                                    6. CASE NUMBER
                        O'Melveny & Myers LLP
                        Two Embarcadero Center                                                          In Re High-Tech Employee Antitrust Litigation                                                   11-2509-LHK
                        San Francisco, CA 94111                                                         8. THIS TRANSCRIPT ORDER IS FOR:

7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)→ ❐ FTR                                     ❐ APPEAL          ❐ CRIMINAL         ❐ In forma pauperis (NOTE: Court order for transcripts must be attached)
                                                                                                        ❐ NON-APPEAL      ❐
                                                                                                                          ✔ CIVIL             CJA: Do not use this form; use Form CJA24
Raynee Mercado
9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:


 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                                        b.              SELECT FORMAT(S) (NOTE: ECF access is included           c.         DELIVERY TYPE ( Choose one per line)
                                                                                                         with purchase of PDF, text, paper or condensed.)


      DATE           JUDGE           TYPE                     PORTION                           PDF          TEXT/ASCII   PAPER      CONDENSED    ECF ACCESS     ORDINARY     14-Day   EXPEDITED       DAILY      HOURLY     REALTIME
                                                 If requesting less than full hearing,        (email)          (email)                 (email)       (web)        (30-day)              (7-day)      (Next day)    (2 hrs)
                     (initials)                 specify portion (e.g. witness or time)


 05/16/2013
 05/16/2013            LHK
                       LHK           CMC
                                     CMC                                                       F
                                                                                               ●                F          F            F            F
                                                                                               F                F          F            F            F
                                                                                               F                F          F            F            F
                                                                                               F                F          F            F            F
                                                                                               F                F          F            F            F
                                                                                               F                F          F            F            F
                                                                                               F                F          F            F            F
                                                                                               F                F          F            F            F
                                                                                               F                F          F            F            F
10. ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).

11. SIGNATURE                                                                                                                  12. DATE
                   /s/ Christina J. Brown                                                                                                           05/20/2013
DISTRIBUTION:                                ❐ COURT COPY                                                ❐ TRANSCRIPTION COPY                                  ❐ ORDER RECEIPT                                ❐ ORDER COPY
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CAND 435
(Rev. 03/13)                                                                      INSTRUCTIONS

Use this form to order the transcription of proceedings. CJA counsel should use Form CJA24. Before completing this form, please visit cand.uscourts.gov/transcripts for
complete transcript ordering information. THESE INSTRUCTIONS SUPPLEMENT THE WEBSITE INFORMATION.
    1. Complete a separate order form for each case number for which transcripts are ordered.
    2. Complete a separate order form for each court reporter who reported proceedings in the case.
    3. Complete Items 1-12. Keep a copy of your completed order form for your records.
    4. E-file this form in the U.S. District Court CM/ECF system. Exceptions to e-filing: (a) sealed cases/proceedings; (b) non-parties; (c) pro se parties who are not e-filers. If
        an exception applies, mail or hand-deliver a hard copy addressed to the court reporter c/o the Clerk’s Office at the Court division where the proceeding was held.
    5. Email the court reporter (email list available at cand.uscourts.gov/courtreportercontact) on or before the date this Transcript Order Form is filed to obtain the amount
        of the required deposit. Deliver payment to the court reporter promptly. Upon receipt of the deposit, the court reporter will begin work on the transcript.
    6. Unless prepayment is waived, delivery time is computed from the date the court reporter receives the deposit, authorized CJA 24 Form, authorization from Federal
        Public Defender’s Office or, for transcripts ordered by the U.S. government, from the date of receipt of the DCN number.
    7. The deposit fee is an estimate. Any overage will be refunded; any shortage will be due from you.
                                                                     ITEM-BY-ITEM INSTRUCTIONS (ITEMS 1-12):
Items 5-6.     Only one case number may be listed per order.
Item 7.        Visit cand.uscourts.gov/transcripts for instructions for determining the name of the court reporter who reported the proceeding or if the proceeding was
               audiorecorded. If minutes have not been filed, contact judge’s courtroom deputy.
Item 8.        Check appeal OR non-appeal AND criminal OR civil. In forma pauperis: a court order specifically authorizing transcripts is required before transcripts may be
               ordered in forma pauperis.
Item 9a.       List specific date(s) of the proceedings for which transcript is requested. A transcript of only a portion of a proceeding may be ordered, if the description is
               clearly written to facilitate processing.
Item 9b.       Select desired FORMAT(S) for transcript. There is an additional charge for each format ordered. Visit cand.uscourts.gov/transcriptrates for details. Unlock
               ECF/web access is included at no extra charge with each of the other formats.
Item 9c.       There are 6 DELIVERY TYPES to choose from (times are computed from date of receipt of the deposit fee or DCN number). NOTE: Full price may be charged only if
               the transcript is delivered within the required time frame. For example, if an order for expedited transcript is not completed and delivered within 7 calendar
               days, the 14-day delivery rate would be charged.
               TRANSCRIPT DELIVERY TIMES:
               ORDINARY ─ 30 calendar days.
               14-DAY ─ 14 calendar days.
               EXPEDITED ─ 7 calendar days.
               DAILY (NEXT DAY) ─ Following adjournment and prior to the normal opening hour of the court on the following morning whether or not it actually is a court day.
               HOURLY (SAME DAY) ─ within two (2) hours.
               REALTIME ─ A draft unedited, uncertified transcript produced by a certified realtime reporter as a byproduct of realtime to be delivered electronically during
               proceedings or immediately following adjournment.
Item 11.       Sign in this space to certify that you will pay all charges (the deposit plus any additional charges.) An electronic or conformed (/s/) signature is acceptable.
Item 12.       Enter the date of signing.
